Case 8:18-CV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 1 of 11 Page|D 1

(;,;/l‘ ' &‘\ ,.; l f
UNITED STATES DISTRICT COURT w " "'J /” »_,' y
MIDDLE DISTRICT OF FLORIDA .\;,=`U‘:"-", t : t _, "` ‘ '
TAMPA DIVlSION `,,._:"“,:{{‘.‘.',\;,f
_i ,. ‘»';,(;‘,»,'-,,];;.1
SUZANNE MCDONALD and
TIMO'I`HY MCDONALD,
Plaintiffs,
_VS-
CAsE No.: 8 :\ 9 ° \’ 133 ’" TZ»">-rr&e
ALLY FINANCIAL, lNC.,
Defendant.

/
COMPLAINT AND DEMAND FOR JURY TRIAL

COME NOW, the Plaintiffs, Suzanne McDonald and Tim McDonald (hereinafter
“Plaintiffs”), by and through the undersigned counsel, and sue Defendant, Ally Financial,
Inc. (hereinafter “Defendant”), and in support thereof respectfully alleges violations of
the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“'I`CPA”) and the
Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

INTRODUCTION

1. The TCPA was enacted to prevent companies like Defendant from
invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132
S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the moming; they interrupt our dinner

<‘>°§`°

»‘~§P\" \l¢.'°°

Case 8:18-CV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 2 of 11 Page|D 2

at night; they force the sick and elderly out of bed; they hound us until we want to rip the
telephone out of the wall."’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
intended to give telephone subscribers another option: telling the auto-dialers to simply
stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 *1256 (l llh Cir. 2014).
4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robo-calls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal
to Protect and Empower Consumers Against Unwanted Robo-calls, Texts to Wireless
Phones, Federal Communications Commission, (May 27, 2015),

http://transition.fcc.gov/Daily_Releases/Daily_Business/20l5/db0527/DOC-

333676A1.pdf.
JURISDICTION AND VENUE
5. This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00), exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

Case 8:18-cV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 3 of 11 Page|D 3

47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (1 ltv Cir. 2014)

8. The alleged violations described herein occurred in Pinellas County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §l39l(b)(2)
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

W

9. Plaintiff, Suzanne McDonald, is a natural person, and citizen of the State
of Florida, residing in Pinellas County, Florida.

10. Plaintiff, Timothy McDonald, is a natural person, and citizen of the State
of Florida, residing in Pinellas County, Florida.

l l. Plaintiffs are “consumers” as defined in Florida Statute § 559.55(8).

12. Plaintiffs are “alleged debtors.”

13. Plaintiffs are the “called parties” with respect to their respective cell phone
numbers. See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d 1265 (l l'h Cir. 2014) and
osorio v. stare Farm Ban/<, F.s.B., 746 F.3d 1242 (11“‘ cir. 2014).

14. Defendant is a corporation with its principal place of business located at
500 Woodward Ave., Floor 10, Detroit, Michigan 48226, and which conducts business in
the State of Florida through its registered agent, CT Corporation System, located at 1200
South Pine Island Road, Plantation, Florida 33324.

15. The debt that is the subject matter of this Complaint is a “consumer debt”

as defined by Florida Statute §559.55(6).

Case 8:18-cV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 4 of 11 Page|D 4

16. Defendant is a “creditor” as defined in Florida Statute §559.55(5).

17. Defendant called Plaintiffs on their respective cellular telephone numbers
approximately one hundred fifty (150) times each in an attempt to collect a debt.

18. Defendant attempted to collect an alleged debt from Plaintiffs by this
campaign of telephone calls.

19. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff’ s cellular telephone numbers were made using an “automatic telephone
dialing system” which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator (including but not limited to a
predictive dialer) or an artificial or pre-recorded voice; and to dial such numbers as
specified by 47 U.S.C § 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiffs will each
testify that they knew that the calls were generated from an auto-dialer because of the
vast number of calls they received, including multiple calls in a single day, and because
they heard a pause or beep when they answered the phone before a voice came on the line
(a common indicator of the use of an auto-dialer); and also that they received pre-
recorded messages from Defendant.

20. Plaintiff, Suzanne McDonald, is the subscriber, regular user and carrier of
the cellular telephone number (402) *** - 3553 and was the called party and recipient of
Defendant’s calls to that number.

21. Plaintiff, Timothy McDonald, is the subscriber, regular user and carrier of
the cellular telephone number (402) *** - 1969 and was the called party and recipient of

Defendant’s calls to that number.

 

 

Case 8:18-cV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 5 of 11 Page|D 5

26. Defendant's corporate policy is structured so as to continue to call
individuals like Plaintiffs, despite these individuals explaining to Defendant that they
wish for the calls to stop.

27. Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

28. Defendant has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call customers despite requests to
stop.

29. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers.

30. Defendant’s corporate policy provided no means for Plaintiffs to have
their numbers removed from Defendant’s call list.

3l. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called.

32. Not a single call placed by Defendant to Plaintiffs was placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(l )(A).

33. Defendant willfully and/or knowingly violated the TCPA with respect to
Plaintiffs, as it was put on notice that Plaintiffs wanted the calls to stop and yet continued

to call and harass the Plaintiffs over a disputed debt anyway.

Case 8:18-cV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 6 of 11 Page|D 6

34. From each and every call placed without consent by Defendant to
Plaintiffs’ cellular telephones, Plaintiffs suffered the injury of invasion of privacy and the
intrusion upon their individual right of seclusion.

35. From each and every call without express consent placed by Defendant to
Plaintiffs’ cellular telephones, Plaintiffs suffered the injury of occupation of their cellular
telephone lines and cellular telephones by unwelcome calls, making the cellular
telephones unavailable for legitimate callers or outgoing calls while the cellular
telephones were ringing from Defendant’s calls.

36. From each and every call placed without express consent by Defendant to
Plaintiffs’ cellular telephones, Plaintiffs suffered the injury of unnecessary expenditure of
their time. For calls they answered, the time they spent on the call was unnecessary as
they repeatedly asked for the calls about an illegitimate alleged debt to stop. Even for
unanswered calls, Plaintiffs had to waste time to unlock the cellular telephones and deal
with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiffs’ cellular telephones, which are
designed to inform the user of important missed communications

37. Each and every call placed without express consent by Defendant to
Plaintiffs’ cellular telephones was an injury in the form of a nuisance and annoyance to
Plaintiffs. For calls that were answered, Plaintiffs had to go to the unnecessary trouble of
answering them. Even for unanswered calls, Plaintiffs had to waste time to unlock the

cellular telephones and deal with missed call notifications and ca11 logs that reflected the

Case 8:18-cV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 7 of 11 Page|D 7

unwanted calls, This also impaired the usefulness of these features of Plaintiffs’ cellular
telephones, which are designed to inform the user of important missed communications

38. Each and every call placed without express consent by Defendant to
Plaintiffs’ cellular telephones resulted in the injury of unnecessary expenditure of
Plaintiffs’ cellular telephones’ battery power.

39. Each and every call placed without express consent by Defendant to
Plaintiffs’ cellular telephones where a voice message was left which occupied space in
Plaintiffs’ cellular telephones or networks.

40. Each and every call placed without express consent by Defendant to
Plaintiffs’ cellular telephones resulted in the injury of a trespass to Plaintiffs’ chattels,
namely their cellular telephones and their cellular telephone services.

41. As a result of the calls described above, Plaintiff, Suzanne McDonald,
suffered an invasion of privacy. Plaintiff was also affected in a personal and
individualized way by stress, anger, embarrassment, and aggravation.

42. As a result of the calls described above, Plaintiff, Tim McDonald, suffered
an invasion of privacy. Plaintiff was also affected in a personal and individualized way
by stress, anger, embarrassment, and aggravation

M
(Violation of the TCPA - Suzanne McDonald)

43. Plaintiff, Suzanne McDonald, fully incorporates and re-alleges paragraphs

one (1) through forty-two (42) as if fully set forth herein.

Case 8:18-cV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 8 of 11 Page|D 8

44. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff
notified Defendant that she wished for the calls to stop.

45. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s
cellular telephone using an automatic telephone dialing system or pre-recorded or
artificial voice without Plaintiffs prior express consent in violation of federal law,
including 47 U.S.C § 227(b)(l)(A)(iii).

WHEREFORE, Plaintiff, Suzanne McDonald, respectfully demands a trial by
jury on all issues so triable and judgment against Ally Financial, Inc., for statutory
damages, punitive damages, actual damages, treble damages, enjoinder from further
violations of these parts and any other such relief the court may deem just and proper.

COUNT ll
(Violation of the FCCPA - Suzanne McDonald)

46. Plaintiff, Suzanne McDonald, fully incorporates and re-alleges paragraphs
one (l) through forty-two (42) as if fully set forth herein.

47. At all times relevant to this action is subject to and must abide by the laws
of the State of Florida, including Florida Statute § 559.72.

48. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

49. Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any

member of his or her family.

Case 8:18-cV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 9 of 11 Page|D 9

50. Defendant’s actions have directly and proximately resulted in Plaintiffs
prior and continuous sustaining of damages as described by Florida Statute § 559.77.
WHEREFORE, Plaintiff, Suzanne McDonald, respectfully demands a trial by jury
on all issues so triable and judgment against Ally Financial, Inc., for statutory damages,
punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further
violations of these parts and any other such relief the court may deem just and proper.

CO_UIM
j (Violation of the TCPA - Timothy McDonald)

51. Plaintiff, Timothy McDonald, fully incorporates and re-alleges paragraphs
one (l) through forty-two (42) as if fully set forth herein.

52. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff
notified Defendant that he wished for the calls to stop.

53. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s
cellular telephone using an automatic telephone dialing system or pre-recorded or
artificial voice without Plaintiff’s prior express consent in violation of federal law,
including 47 U.S.C § 227(b)(l)(A)(iii).

WHEREFORE, Plaintiff, Timothy McDonald, respectfully demands a trial by
jury on all issues so triable and judgment against Ally Financial, Inc., for statutory
damages, punitive damages, actual damages, treble damages, enjoinder from further
violations of these parts and any other such relief the court may deem just and proper.

COUNT IV
(Violation of the FCCPA - Timothy McDonald)

10

Case 8:18-cV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 10 of 11 Page|D 10

54. Plaintiff, Timothy McDonald, fully incorporates and re-alleges paragraphs
one (1) through forty-two (42) as if fully set forth herein.

55. At all times relevant to this action is subject to and must abide by the laws
of the State of Florida, including Florida Statute § 559.72.

56. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

57. Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

58. Defendant’s actions have directly and proximately resulted in Plaintiffs
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff, Timothy McDonald, respectfully demands a trial by jury
on all issues so triable and judgment against Ally Financial, Inc., for statutory damages,
punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.

[REMAINDER OF PAGE LEFT BLANK INTENTIONALLY]

Case 8:18-cV-02272-SDI\/|-AEP Document 1 Filed 09/13/18 Page 11 of 11 Page|D 11

12

Respectfully submitted,

/s/F rank H. Kemey, III. Esquire
Frank H. Kemey, III, Esquire
Florida Bar #: 88672

Morgan & Morgan, Tampa, P.A.
One Tampa City Center

201 North Franklin Street, 7'h Floor
Tampa, FL 33602

Telephone: (813) 223-5505
Facsimile: (813) 223-5402
fkerney@forthepeople.com
snazario@forthepeople.com
lrobbins@forthepeople.com
Counsel for Plaintiffr

